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           Hearing Date and Time: October 8, 2024 at 10:00 a.m. (prevailing Eastern Time)
            Objection Deadline: September 24, 2024 at 5:00 p.m. (prevailing Eastern Time)
                   Reply Deadline: October 1, 2024 at 5:00 p.m. (prevailing Eastern Time)

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Co-Counsel to Mohsin Y. Meghji, Litigation Administrator, as Representative for the Post-
Effective Date Debtors
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                               §
In re:                                         §
                                               §
CELSIUS CUSTOMER PREFERENCE                    §        Adv. Proc. No. 24-04024 (MG)
ACTIONS.                                       §
                                               §
                                               §



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      NOTICE OF REVISED MOTION FOR AN ORDER ESTABLISHING
    STREAMLINED PROCEDURES GOVERNING AVOIDANCE ACTIONS
  PURSUANT TO SECTIONS 502, 547, AND 550 OF THE BANKRUPTCY CODE

       PLEASE TAKE NOTICE that Mohsin Y. Meghji, as Litigation Administrator for Celsius

Network LLC and its affiliated debtors (the “Plaintiff” or “Litigation Administrator”), by and

through his undersigned counsel, has filed the attached motion, the Revised Motion for an Order

Establishing Streamlined Procedures Governing Avoidance Actions Pursuant To Sections 502,

547, and 550 of the Bankruptcy Code (the “Motion”), seeking entry of an order, substantially in

the form annexed to the Motion as Exhibit A (the “Proposed Order”), establishing procedures

(the “Proposed Procedures”) to govern adversary proceedings brought by Plaintiff to avoid and

recover transfers and/or disallow claims pursuant to 11 U.S.C. §§ 502, 547, and 550 identified on

schedule Exhibit 1 attached to the Proposed Order (the “Avoidance Actions”).

       PLEASE TAKE NOTICE that a hearing to consider the Motion will be held before the

Honorable Martin Glenn, Chief United States Bankruptcy Judge for the United States Bankruptcy

Court for the Southern District of New York, on October 8, 2024, at 10:00 a.m. (prevailing

Eastern Time) (the “Hearing”).

       PLEASE TAKE FURTHER NOTICE that the Hearing will be conducted in a hybrid

fashion both in person and via Zoom for Government. Those wishing to participate in the Hearing

in person may appear before the Honorable Martin Glenn, Chief United States Bankruptcy Judge,

in the United States Bankruptcy Court for the Southern District of New York, in Courtroom No.

523, located at One Bowling Green, New York, New York 10004-1408. For those wishing to

participate remotely, in accordance with General Order M-543 dated March 20, 2020, the Hearing

will be conducted remotely using Zoom for Government. Parties wishing to appear at or listen to

the Hearing, whether (a) an attorney or non-attorney, (b) appearing in person or remotely, or (c)



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making a “live” or “listen only” appearance before the Court, need to make an electronic

appearance       (an     “eCourtAppearance”)            through      the     Court’s      website          at

https://ecf.nysb.uscourts.gov/cgi-bin/nysbAppearances.pl. When making an eCourtAppearance,

parties must specify whether they will appear at the Hearing remotely or in person and, if appearing

remotely, whether they are making a “live” or “listen only” appearance. Electronic appearances

(eCourtAppearances) need to be made by 5:00 p.m., prevailing Eastern Time, the business day

before the hearing (i.e., on October 7, 2024).

        PLEASE TAKE FURTHER NOTICE that responses or oppositions, if any, to the relief

requested in the Motion must: (a) be in writing; (b) describe the basis for the response or opposition

and the specific grounds therefor; (c) comply with the Federal Rules of Bankruptcy Procedure, the

Local Bankruptcy Rules for the Southern District of New York, and all General Orders applicable

to chapter 11 cases in the United States Bankruptcy Court for the Southern District of New York;

(d) be filed electronically with the Court on the docket of In re Celsius Customer Preference

Actions, Adv. Proc. No. 24-04024 (MG)1 by registered users of the Court’s electronic filing system

and in accordance with all General Orders applicable to chapter 11 cases in the United States

Bankruptcy Court for the Southern District of New York (which are available on the Court’s

website at http://www.nysb.uscourts.gov); and (e) be served in accordance with the Second

Amended Final Order (I) Establishing Certain Notice, Case Management, and Administrative

Procedures and (II) Granting Related Relief, [Main Docket No. 2560]2 (the “Case Management



1
 Documents filed on this docket can be accessed free of charge at https://cases.stretto.com/Celsius/court-
docket/court-docket-category/2341-celsius-customer-preference-actions-consolidated-docket/             or
https://cases.stretto.com/CelsiusLOC/court-docket/court-docket-category/2342-celsius-customer-
preference-actions-consolidated-docket/.
2
 “Main Docket No.” refers to the docket of In re Celsius Network LLC, et al., Case No. 22-10964 (MG)
(Bankr. S.D.N.Y., filed July 13, 2022). Documents filed on this docket can be accessed free of charge at
https://cases.stretto.com/celsius/.

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Order”) by September 24, 2024, at 5:00 p.m., prevailing Eastern Time, to (i) the entities on

the Master Service List (as defined in the Case Management Order and available on the case

website of the Debtors at https://cases.stretto.com/celsius) and (ii) any person or entity with a

particularized interest in the subject matter of the Motion.

       PLEASE TAKE FURTHER NOTICE that only those responses or objections that are

timely filed, served, and received will be considered at the Hearing. Failure to file a timely

objection may result in entry of a final order granting the Motion as requested by the Litigation

Administrator.

       PLEASE TAKE FURTHER NOTICE that the Litigation Administrator’s reply in

support of the relief requested in the Motion shall be filed by October 1, 2024, at 5:00 p.m.,

prevailing Eastern Time.

       PLEASE TAKE FURTHER NOTICE that copies of all pleadings filed in these chapter

11 cases may be obtained free of charge by visiting the website of Stretto at

https://cases.stretto.com/Celsius. You may also obtain copies of the motions and other pleadings

filed in these chapter 11 cases by visiting the Court’s website at http://www.nysb.uscourts.gov in

accordance with the procedures and fees set forth therein.



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Dated: September 10, 2024
       New York, New York

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                                  Litigation Administrator, as
                                  Representative for the Post-Effective
                                  Date Debtors




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           Hearing Date and Time: October 8, 2024 at 10:00 a.m. (prevailing Eastern Time)
            Objection Deadline: September 24, 2024 at 5:00 p.m. (prevailing Eastern Time)
                   Reply Deadline: October 1, 2024 at 5:00 p.m. (prevailing Eastern Time)
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Co-Counsel to Mohsin Y. Meghji, Litigation Administrator, as Representative for the Post-
Effective Date Debtors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                               §
In re:                                         §
                                               §
CELSIUS CUSTOMER PREFERENCE                    §        Adv. Proc. No. 24-04024 (MG)
ACTIONS.                                       §
                                               §
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        REVISED MOTION FOR AN ORDER ESTABLISHING STREAMLINED
    PROCEDURES GOVERNING AVOIDANCE ACTIONS PURSUANT TO SECTIONS
                502, 547, AND 550 OF THE BANKRUPTCY CODE

        Mohsin Y. Meghji, as Litigation Administrator for Celsius Network LLC and its affiliated

post-effective date debtors (the “Plaintiff” or “Litigation Administrator”), by and through his

undersigned counsel, submits this Revised Motion for an Order Establishing Streamlined

Procedures Governing Avoidance Actions Pursuant To Sections 502, 547, and 550 of the

Bankruptcy Code (the “Motion”) seeking entry of an order, substantially in the form annexed

hereto as Exhibit A (the “Proposed Order”), establishing procedures (the “Proposed

Procedures”) to govern adversary proceedings brought by Plaintiff to avoid and recover transfers

and/or disallow claims pursuant to 11 U.S.C. §§ 502, 547, and 550 identified on schedule Exhibit

1 attached to the Proposed Order (the “Avoidance Actions”).1 In support of the Motion, Plaintiff

respectfully states as follows:2

                                   PRELIMINARY STATEMENT

        1.      At the hearing on August 27, 2024, the Court resolved certain key disputes

regarding the proposed mediation procedures and common issues. First, the Court ruled that,

following litigation regarding the “phase one” issues, there will be mandatory mediation for all

Defendants. See Aug. 27, 2024 Hr’g Tr. at 85:2-5 (“There is going to be -- after the Court resolves




1
 If any Defendants in the Avoidance Actions have not been served the complaint and summons as of the
date the Proposed Order is entered, these Defendants will be bound by the Proposed Order once service is
effected.
2
  For efficiency, the Litigation Administrator incorporates by reference the legal and factual support set
forth in the Motion for an Order Establishing Streamlined Procedures Governing Avoidance Actions
Pursuant To Sections 502, 547, and 550 of the Bankruptcy Code [Main Docket No. 7534] (the “Original
Procedures Motion”). “Main Docket No.” refers to the docket of In re Celsius Network LLC, et al., Case
No. 22-10964 (MG) (Bankr. S.D.N.Y., filed July 13, 2022). Documents filed on this docket can be accessed
free of charge at https://cases.stretto.com/celsius/. Capitalized terms used but not otherwise defined herein
shall have the meanings ascribed to them in the Original Procedures Motion.


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certainly phase one litigated issues, there is going to be mandatory mediation. I believe I have the

authority to order it.”). Second, the Court ruled that parties to the mediations will have to split the

mediator’s costs. See id. at 85:5-7 (“I believe I have the authority to order a split in the mediator’s

fees. The law in this district and this circuit supports those conclusions.”) Third, the Court

indicated that, while it had not made a final decision, it was disinclined to include the 546(e) safe

harbor as a “phase one” issue. See id. at 92:12-16 (“I am disinclined to permit motions under

546(e) which will be much more time-consuming and factually intensive. I don’t view those – I

don’t view the 546(e) issue as appropriate for early decision by the Court.”).3

          2.     With these issues resolved, the Litigation Administrator believes that the remaining

disputes have been substantially narrowed. The Litigation Administrator continues to discuss the

common issues and proposed procedures with various parties and will continue to work in good

faith to narrow any disputes. Accordingly, while reserving the right to amend this proposal based

on ongoing discussions, the Litigation Administrator makes the following proposal regarding

common issues and the schedule and procedures governing litigation and mediation.

                 PROPOSED LITIGATION AND MEDIATION PROCEDURES

     I.        Phase One

          3.     The Litigation Administrator proposes that the following common issues be

litigated first pursuant to the following schedule and procedures.




3
 Additionally, the Court directed the opening of a consolidated docket for filings relating to the Avoidance
Actions generally. See Aug. 27, 2024 Hr’g Tr. at 116:3-8. This docket was opened on September 6, 2024,
and is styled In re Celsius Customer Preference Actions, Adv. Proc. No. 24-04024 (MG) (Bankr. S.D.N.Y.).
Documents filed on this docket can be accessed free of charge at https://cases.stretto.com/Celsius/court-
docket/court-docket-category/2341-celsius-customer-preference-actions-consolidated-docket/                or
https://cases.stretto.com/CelsiusLOC/court-docket/court-docket-category/2342-celsius-customer-
preference-actions-consolidated-docket/.


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             A.       Phase One Issues

        4.        The Litigation Administrator proposes the following phase one issues:

                     The Extraterritoriality Defense and Personal Jurisdiction over Non-U.S.

                      Defendants – The Litigation Administrator believes that there is general

                      agreement that the extraterritoriality defense and specific personal jurisdiction

                      over foreign Defendants (each a “Foreign Defendant,” and collectively the

                      “Foreign Defendants”) should be litigated in phase one.4 This makes sense—

                      Foreign Defendants constitute roughly half of all Defendants, and they deserve

                      to know early on whether they have valid defenses. Additionally, several

                      groups of represented Foreign Defendants have either accepted service or

                      indicated that they wish to participate in litigating these issues even though they

                      have not yet been served.

                     The Scope of Damages under Section 550(a) of the Bankruptcy Code – The

                      Litigation Administrator has asserted claims pursuant to section 550(a) of the

                      Bankruptcy Code for return of the assets withdrawn during the preference

                      period or their prevailing value. See 11 U.S.C. § 550(a) (“[T]he trustee may

                      recover, for the benefit of the estate, the property transferred, or, if the court so

                      orders, the value of such property[.]”). Certain Defendants have challenged the

                      Litigation Administrator’s right to seek return of the withdrawn assets. The

                      Litigation Administrator believes that resolving this issue is essential to




4
  For the avoidance of doubt, the Litigation Administrator proposes to litigate only whether the Celsius
terms of use give rise to specific personal jurisdiction over Foreign Defendants. The Litigation
Administrator reserves the right to make any arguments regarding general personal jurisdiction, if
necessary, in each Defendant’s individual Avoidance Action.


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                     productive mediations; otherwise, the parties’ conception of potential litigation

                     outcomes will likely be too far apart for a settlement to be reached. The

                     Litigation Administrator further believes that this is a straightforward legal

                     issue that can be resolved without discovery.

                    The Calculation of New Value – The Litigation Administrator has calculated

                     new value in accordance with section 547(c) of the Bankruptcy Code, which

                     provides that “[t]he trustee may not avoid under this section a transfer . . . to the

                     extent that, after such transfer, such creditor gave new value to or for the benefit

                     of the debtor[.]” 11 U.S.C. § 547(c)(4) (emphasis added). Certain Defendants

                     have argued that new value should be calculated differently.             Again, the

                     Litigation Administrator believes that resolving this issue is essential to

                     productive mediations, as divergent methods for calculating new value can have

                     a substantial impact on the amount potentially at issue in litigation. The

                     Litigation Administrator further believes that this is a straightforward legal

                     issue that can be resolved without discovery.

            B.       Schedule and Procedures

       5.        The Litigation Administrator proposes the following schedule and procedures

during phase one:

                    Moratorium to Allow for Voluntary Mediation – To allow time for parties to

                     engage in voluntary mediation, there will be a moratorium following entry of

                     the Proposed Order, which will conclude on the date that is 120 days after the

                     entry of the Proposed Order (or, if that date falls on a weekend or holiday, the

                     following business day).




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                  Briefing Schedule – The phase one briefing will occur in two stages:

                       o Opening briefs will be due on the date that is 56 days following the

                           conclusion of the moratorium.

                       o Response briefs will be due on the date the is 56 days following the

                           filing of opening briefs.

                       o The Court will set a hearing on the phase one issues to occur after the

                           close of briefing.

                  Pages Limits – The following page limits and related rules shall govern the

                   phase one briefing:

                       o Defendants shall be entitled to submit three opening briefs of 50 pages

                           each. The Litigation Administrator shall be entitled to submit one

                           opening brief of 60 pages.

                       o Defendants shall be entitled to submit three response briefs of 50 pages

                           each. The Litigation Administrator shall be entitled to submit one

                           response brief of 75 pages.

                       o The following groups of Defendants may submit briefs: (i) the

                           approximately 600 Defendants represented by Troutman Pepper LLP

                           (the “Troutman Group”) and Lowenstein Sandler LLP (“Lowenstein

                           Group”); (ii) Defendants represented by Wilmer Cutler Pickering Hale

                           and Dorr LLP (the “DOF Group (WilmerHale)”) and (iii) Defendants

                           represented by Bressler Amery & Ross, P.C. (the “Bressler Group”).5



5
  The Litigation Administrator has spoken with the Troutman Group, Lowenstein Group, DOF Group
(WilmerHale), and Bressler Group and understands that these groups reserve the right to incorporate and
adopt each other’s arguments to avoid repetitive and duplicative briefing.


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                            All other defendants may request permission to file briefs under the

                            same limits, which request shall be determined by the Court.

                   Stay of Litigation – During phase one, all deadlines in connection with each

                    Defendant’s individual Avoidance Action shall be stayed.

                   Voluntary Mediation – During phase one, parties may engage in voluntary

                    mediation at any time. To the extent that Foreign Defendants who have not been

                    served elect to participate in voluntary mediation, such participation shall not

                    be deemed as consent to jurisdiction, and those Defendants shall reserve all

                    rights as to extraterritoriality, personal jurisdiction, and related defenses. The

                    voluntary mediation will be subject to the mediation procedures outlined in the

                    Proposed Order unless the parties mutually agree to other procedures.

                   No Discovery – No discovery will be allowed in connection with the phase one

                    issues. To the extent a party believes discovery is required to decide a phase

                    one issue, the party can make that argument in its briefing.

         6.     The Litigation Administrator respectfully submits that this proposal will facilitate

the early and efficient resolution of key, threshold legal issues, which in turn will ensure that

mandatory mediation is successful and lay the groundwork for the fact-intensive litigation of phase

two.

   II.        Phase Two

         7.     Following entry of the Court’s decision regarding the phase one issues, the

Litigation Administrator proposes the following schedule and procedures during phase two:




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       A.       Phase Two Issues

               Ordinary Course of Business Defense under Section 547(c)(2)(B) of the

                Bankruptcy Code – Certain Defendants have indicated that they believe that the

                Litigation Administrator’s claims are barred by the ordinary course of business

                defense. While the “subjective” or “vertical” ordinary course of business

                defense will need to be litigated on a case-by-case basis, the “objective” or

                “horizontal” test under section 547(c)(2)(B) of the Bankruptcy Code can be

                litigated as to all Defendants. Because this defense is fact-intensive and will

                require expert testimony on novel issues, the Litigation Administrator proposes

                that it should be litigated in phase two, after parties’ settlement positions have

                been informed by the Court’s decisions on the threshold legal issues in phase

                one.    The Litigation Administrator understands that many Defendants,

                including the Troutman Group and the Lowenstein Group, agree that this issue

                should be litigated in phase two.

               Safe Harbor Defense under Section 546(e) of the Bankruptcy Code – Certain

                Defendants have indicated that they believe the Litigation Administrator’s

                claims are barred by the safe harbor defense under section 546(e) of the

                Bankruptcy Code. Because this defense is fact-intensive and will require expert

                testimony on novel issues, the Litigation Administrator proposes that it should

                be litigated in phase two, after parties’ settlement positions have been informed

                by the Court’s decisions on the threshold legal issues in phase one. The

                Litigation Administrator understands that many Defendants, including the




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                     Troutman Group and the Lowenstein Group, agree that this issue should be

                     litigated in phase two.

                    Rebuttals to the Presumption of Insolvency – Certain Defendants have indicated

                     that they may seek to rebut the presumption of insolvency under section 547(f)

                     of the Bankruptcy Code. Because this issue is fact-intensive and will require

                     expert testimony on novel issues, the Litigation Administrator proposes that it

                     should be litigated in phase two, after parties’ settlement positions have been

                     informed by the Court’s decisions on the threshold legal issues in phase one.

                     The Litigation Administrator understands that many Defendants, including the

                     Troutman Group and the Lowenstein Group, agree that this issue should be

                     litigated in phase two.

                    Phase One Issues Found to Require Evidence – Finally, to the extent the Court

                     determines that any phase one issues require evidence to determine, then those

                     issues should be decided in phase two.

            B.        Schedule and Procedures

       8.        The Litigation Administrator proposes the following schedule and procedures

during phase one:

                    Deadline to Respond to Complaints – On the date that is 30 days after the Court

                     rules on the phase one issues (or, if that date is a weekend or holiday, the next

                     business day), and solely to the extent that the Avoidance Actions have not been

                     fully adjudicated by the Court’s phase one rulings, all Defendants who have

                     been properly served must, to the extent they have not already done so, answer

                     or otherwise respond to the complaints filed in their individual Avoidance




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                 Actions. For the avoidance of doubt, for any Defendant who has been properly

                 served and has not timely answered or otherwise responded to the complaint

                 filed against them, the Litigation Administrator may take all appropriate steps

                 to obtain a default judgment in those Avoidance Actions, including seeking an

                 entry of a default judgment and pursuing related litigation.          Other than

                 responses to the complaints and related litigation, if a Defendant fails to timely

                 respond to the complaint as described herein, all dates and deadlines in

                 connection with each Defendant’s Avoidance Action (including briefing

                 deadlines, discovery deadlines and court conferences) shall be stayed.

                Litigation Schedule – Litigation regarding the phase two issues shall follow the

                 below schedule:

                   Event                                            Deadline

Deadline to serve all requests for written 35 days after the deadline to respond to the
discovery regarding phase two issues       complaints

Deadline to complete all fact discovery, 120 days after the deadline to serve requests
including depositions                    for written discovery (subject to two, 28-day
                                         extensions upon written agreement by the
                                         parties and without further order of the Court)

Deadline for defendants to file opening briefs, 70 days after the completion of fact discovery
fact declarations and expert reports

Deadline for the Litigation Administrator to 28 days after defendants file their opening
complete discovery of defendants’ experts    briefs

Deadline for Litigation Administrator to file 70 days after the deadline for the Litigation
response brief, rebuttal fact declarations, and Administrator to complete expert discovery
rebuttal expert reports

Deadline for defendants to complete discovery 28 after the Litigation Administrator files its
of the Litigation Administrator’s experts     response brief




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                      Event                                           Deadline

 Deadline for defendants to file reply briefs      42 days after the deadline for defendants to
                                                   complete expert discovery

                  Page Limits – The following page limits and related rules shall govern the phase

                   two briefing:

                       o Defendants shall be entitled to submit three opening briefs of 50 pages

                           each.

                       o The Litigation Administrator shall be entitled to submit one response

                           brief of 75 pages.

                       o Defendants shall be entitled to submit three reply briefs of 40 pages

                           each.

                       o The following groups of Defendants may submit briefs: (i) the

                           approximately 600 Defendants in the Troutman Group and Lowenstein

                           Group; (ii) the DOF Group (WilmerHale); and (iii) the Bressler Group.

                           All other Defendants may request permission to file briefs under the

                           same limits, which request shall be determined by the Court.

                  Evidentiary Hearing – Following the close of briefing, the Court will schedule

                   an evidentiary hearing on the phase two issues.

       9.      The Litigation Administrator respectfully submits that this proposal will ensure the

fair and efficient resolution of these fact-intensive issues, while allowing parties who do not wish

to engage in expensive and time-consuming litigation to participate in mandatory mediation and

seek to resolve their individual cases.




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     III.         Mediation Procedures

            10.      The Litigation Administrator proposes the following procedures to govern

mandatory mediation:

                        Mandatory Mediation Start Date – On the date that is 35 days following the

                         deadline for responses to the complaints, mandatory mediation shall begin

                         pursuant to the procedures outlined below (the “Mandatory Mediation Start

                         Date”).

                        Requirement to Participate in Mediation – To the extent a Defendant has not

                         already participated in mediation and the Avoidance Action against such

                         Defendant has not been resolved, then that Defendant must participate in

                         mandatory mediation. Following the Mandatory Mediation Start Date, the

                         Defendant and the Litigation Administrator shall jointly select a mediator (the

                         “Mediator”) from the list of mediators (the “Mediator List”), a copy of which

                         is attached as Exhibit 3 to the Proposed Order.6 Following the selection of a

                         Mediator, the Litigation Administrator shall file on the respective adversary

                         proceeding docket or applicable consolidated docket, if any, a notice of

                         Mediator selection (the “Notice of Mediator Selection”). Except as otherwise

                         set forth herein, if the parties are unable to agree on a Mediator within 30 days




6
  Notwithstanding the foregoing, with respect to any group mediation of cases with aggregate claim amounts
in excess of $25,000,000 (a “Large Group Mediation”), the Defendants and Plaintiff shall confer in good
faith to jointly select a mutually agreeable Mediator and shall not be limited to those mediators on
Exhibit 3. If the parties to a Large Group Mediation are unable to agree on a Mediator within a reasonable
time, the Court shall appoint one for them.


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                       from the Mandatory Mediation Start Date, the Litigation Administrator shall

                       request that the Court appoint a Mediator from the Mediator List.7

                      Mediator Fees - The Mediator’s fees and reasonable expenses (the “Mediation

                       Fee”) shall be shared equally by the parties on a fixed-fee schedule as set forth

                       below.8 The parties shall pay one quarter of the Mediation Fee at least seven

                       (7) calendar days prior to the commencement of mediation (the “Initial

                       Mediation Fee”). The remaining fee will be due and paid by the parties on or

                       before the date of mediation, should the mediation go forward. If the parties

                       settle prior to the mediation, the Mediator must be informed of the settlement

                       prior to seven calendar days before the scheduled mediation or the Initial

                       Mediation Fee is nonrefundable. If a party fails to attend the mediation, or fails

                       to cancel or adjourn the mediation at least 24 hours in advance of the start of

                       the mediation, that party will bear sole responsibility for the remaining

                       Mediation Fee. The Mediation Fee shall be as follows:

                            o cases with a claim amount (as reflected in the complaint) greater than

                                $100,000 and less than $250,000: $5,000 per case;

                            o cases with a claim amount (as reflected in the complaint) equal to or

                                greater than $250,000 and less than $500,000: $6,500 per case;

                            o cases with a claim amount (as reflected in the complaint) equal to or

                                greater than $500,000 and less than $1,000,000: $8,000 per case; and



7
  Plaintiff reserves the right to add or remove mediators from the Mediator List any time after the original
Mediator List is filed with the Court, including after any order is entered approving the Motion, provided
that the additional mediators will be selected from the register of mediators maintained by the Court.
8
    Plaintiff, in his sole discretion, may agree to a different division of the mediator’s fees and expenses.


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                         o cases with a claim amount (as reflected in the complaint) equal to or

                             greater than $1,000,000: to be determined by the Plaintiff, Defendant,

                             and Mediator on a case-by-case basis.9

                   Location for Mediations – Mediations shall take place at a location agreed to

                    by the parties and the Mediator, including holding mediations via video

                    conference. All cases with claim amounts under $500,000 shall be conducted

                    over video conference, and cases with claim amounts over $500,000 may be

                    conducted over video conference or in-person, as the parties and the Mediator

                    agree. In-person mediations shall be held at the law office of Plaintiff’s counsel,

                    Defendant’s counsel, the Mediator’s office, or at another location agreed upon

                    by the Mediator, Plaintiff, and the Defendant.

                   Mediator’s Travel Expenses – If the parties mutually request that a Mediator

                    travel from the Mediator’s home state to another location for mediation, and the

                    Mediator agrees to the location, the parties shall split the reasonable costs of the

                    Mediator’s travel and accommodations, and the Mediation Fee shall increase as

                    follows: $500 per party, per case in the event that the Mediator travels within

                    the continental United States or Canada, and $1000 per party, per case in the

                    event the Mediator travels outside the continental United States or Canada.10

                   Commencement of Mediation – Promptly after the filing of the Notice of

                    Mediator Selection, Plaintiff’s and Defendant’s counsel (or the Defendant, if



9
 To the extent any Defendants choose to mediate in a group, the above mediation fees will be determined
based on the aggregate claim amounts reflected in the complaints filed against the members of the group.
10
  For the avoidance of doubt, the fees and costs set forth in this paragraph shall remain the same regardless
of whether the Mediator is participating in a group mediation.


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                    appearing pro se) shall jointly contact the selected Mediator to discuss the

                    mediation. The mediation will be scheduled within sixty (60) days of the filing

                    of the Notice of Mediator Selection.

                   General Order M-390 – Except as set forth herein, the mediation shall be

                    conducted in accordance with General Order M-390, which is available on the

                    Court’s website (http://www.nysb.uscourts.gov/).

                   Position Statements – The parties shall exchange, and provide the Mediator

                    with a copy of, their position statements (“Position Statements”), which may

                    not exceed ten (10) pages double-spaced in 12 point type (exclusive of exhibits

                    and schedules),11 at least ten (10) days prior to the scheduled mediation. The

                    Mediator may also require the parties to provide to the Mediator any relevant

                    papers and exhibits as well as a settlement proposal. The Mediator may also

                    require the parties to exchange documents. The Mediator may permit parties to

                    provide the Mediator with confidential briefing that is not exchanged between

                    the parties.

                   Mediator’s Authority – The Mediator will preside over the mediation with full

                    authority to determine the nature and order of the parties’ presentations and with

                    the full authority to implement any additional procedures which are reasonable

                    and practical under the circumstances.

                   Time to Mediate – The length of time necessary to effectively complete the

                    mediation will be within the Mediator’s discretion. The Mediator may also



11
  For Large Group Mediations, the parties and the Mediator shall agree on a reasonable page limit for the
parties’ position statements.


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              adjourn a mediation that has been commenced if the Mediator determines that

              an adjournment is in the best interests of the parties.

             Good Faith Requirement – The parties shall participate in the mediation in good

              faith. A lack of participation in good faith includes, but is not limited to, the

              failure to timely pay the Mediator in accordance with these Proposed

              Procedures. The mediation(s) shall be attended by a representative of the

              Defendant with full settlement authority (and if a Defendant is represented by

              counsel, their counsel) as well as counsel for Plaintiff (who must have

              settlement authority from Plaintiff).

             Mediator Recusals – No Mediator shall mediate any Avoidance Action in which

              the Mediator or the Mediator’s law firm currently represents a party in that

              Avoidance Action. To the extent the Mediator’s law firm represents a party

              with respect to any Avoidance Action or is otherwise currently adverse to

              Celsius, the party to the Avoidance Action that the Mediator is mediating, or

              the Litigation Administrator, the Mediator shall inform the parties, in writing,

              of the representation and certify that he or she has been walled off from the

              representation. Notwithstanding the foregoing, no Defendant shall be required

              to mediate with a Mediator whose law firm is currently adverse to such

              Defendant in any matter.

             Mediation Privilege Applies – All proceedings and writings incident to the

              mediation will be considered privileged and confidential and subject to all the

              protections of Federal Rule of Evidence 408 and shall not be reported or

              admitted in evidence for any reason whatsoever. Nothing stated or exchanged




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              during mediation shall operate as an admission of liability, wrongdoing, or

              responsibility.

             Deadline to Conclude Mediation – The mediation shall be conducted so as to

              be completed within one hundred and eighty (180) days after the date the Notice

              of Mediator Selection is filed, which deadline may be extended by the mutual

              consent of Plaintiff, the Defendant, and the Mediator.

             Non-Participation – If a party (a) fails to submit the required Position Statement

              or other submissions as provided in these Proposed Procedures or as may be

              agreed to by the Mediator or ordered by the Court, or (b) fails to attend the

              mediation, then the non-defaulting party may file a motion with the Court

              seeking sanctions as may be appropriate under the circumstances, including a

              motion for default judgment.

             Mediator’s Report – Within ten (10) days after the conclusion of each

              mediation, the Mediator shall file a Mediator’s Report in the Avoidance Action,

              which shall be limited to stating only (i) whether the Avoidance Action settled

              or did not settle; (ii) the date or dates the mediation took place; and (iii) the

              names of the parties and/or counsel who attended.

             Discovery – Although discovery shall be stayed in each Defendant’s individual

              Avoidance Action, such stay of discovery shall in no way preclude the parties

              from informally exchanging documents and other information on a consensual

              basis in an attempt to resolve an Avoidance Action in advance of, or during,

              any mediation.




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                   Settlement of Avoidance Actions - Consistent with the Plan, Plaintiff is

                    authorized to compromise or settle any of the Avoidance Actions without

                    further court approval. See Plan Art. IV(S).

        11.     The Litigation Administrator submits that these procedures comport with this

Court’s precedent, comply with this Court’s guidance at the August 27th hearing, and are fair and

reasonable to all parties.

                                         CONCLUSION

        WHEREFORE, Plaintiff respectfully requests that the Court grant the Motion, enter the

Proposed Order in the form attached hereto as Exhibit A and grant such other and further relief as

the Court deems just and proper.

Dated: September 10, 2024
       New York, New York

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                                  Date Debtors




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                                 EXHIBIT A

                             PROPOSED ORDER
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                     §
In re:                                               §
                                                     §
CELSIUS CUSTOMER PREFERENCE                          §          Adv. Proc. No. 24-04024 (MG)
ACTIONS.                                             §
                                                     §
                                                     §

       ORDER GRANTING REVISED MOTION FOR AN ORDER ESTABLISHING
        STREAMLINED PROCEDURES GOVERNING AVOIDANCE ACTIONS
      PURSUANT TO SECTIONS 502, 547, AND 550 OF THE BANKRUPTCY CODE

         Upon the Revised Motion for an Order Establishing Streamlined Procedures Governing

Avoidance Actions Pursuant To Sections 502, 547, and 550 of the Bankruptcy Code (the

“Motion”),1 filed by Mohsin Y. Meghji, as Litigation Administrator for Celsius Network LLC and

its affiliated post-effective date debtors (the “Plaintiff” or “Litigation Administrator”), for entry

of an order (the “Procedures Order”) establishing streamlined procedures governing the

avoidance actions brought by Plaintiff pursuant to sections 502, 547, and 550 of the Bankruptcy

Code identified in Exhibit 1 annexed hereto (each an “Avoidance Action,” collectively, the

“Avoidance Actions”); and the Court having jurisdiction to consider and determine the Motion as

a core proceeding in accordance with 28 U.S.C. §§ 157(a)-(b) and 1334(b) and the Amended

Standing Order of Reference M-431, dated January 31, 2012 (Preska, C.J.); and venue being proper

before the Court pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having held a hearing on

October 8, 2024 to consider the requested relief in the Motion (the “Hearing”);2 and upon the

record of the Hearing and all of the proceedings before the Court, the Court finds and determines


1
 Capitalized terms not otherwise defined herein shall have the same meaning ascribed to them as in the
Motion.
2
 The record of the Hearing is incorporated as if fully set forth herein and, to the extent the terms of this
Procedures Order are deemed inconsistent with the representations regarding such terms made by counsel
to Plaintiff at the Hearing, the terms presented at the Hearing shall control.
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that the relief requested in the Motion is in the best interest of the Litigation Administrator,

creditors, and all parties-in-interest, that the Litigation Administrator has provided due and

adequate notice of the Motion and Hearing, and that no other notice is necessary, and that the legal

and factual bases set forth in the Motion establish just and sufficient cause to grant the relief

requested therein, it is hereby:

        ORDERED, that the Motion is granted as set forth herein;

        ORDERED, that the procedures governing all parties to the Avoidance Actions attached

hereto as Exhibit 2 (the “Avoidance Action Procedures”) and incorporated herein by reference,

are hereby approved and shall govern the Avoidance Actions effective nunc pro tunc to July 1,

2024;

        ORDERED, that the Litigation Administrator shall file a written status update ninety (90)

days after entry of this Procedures Order (and every 90 days thereafter). Each written report shall

list the status of each Avoidance Action and include the following information about each

Avoidance Action, as applicable: (i) the case name and adversary proceeding number; (ii) the date

the summons was served; (iii) the date a responsive pleading was filed or is due; (iv) the date a

Notice of Mediator Selection (defined herein) was filed and the name of the selected Mediator

(defined herein); (v) the date the Mediator’s Report (defined herein) was filed; (vi) whether the

Avoidance Action has been consensually resolved; and (vii) the date on which any pretrial

scheduling conference is scheduled or was held;

        ORDERED, that the Bankruptcy Code, the Bankruptcy Rules and the Local Bankruptcy

Rules shall apply to the Avoidance Actions, except to the extent that they conflict with the

Avoidance Action Procedures;




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       ORDERED, that the time periods set forth in this Procedures Order and the Avoidance

Action Procedures shall be calculated in accordance with Bankruptcy Rule 9006(a);

       ORDERED, that the Court retains jurisdiction with respect to all matters arising from or

related to the implementation of this Procedures Order; and

       ORDERED, that this Procedures Order shall be effective immediately upon its entry.

IT IS SO ORDERED.


Dated: ___________________
       New York, New York
                                            _______________________________________
                                            THE HONORABLE MARTIN GLENN
                                            CHIEF UNITED STATES BANKRUPTCY JUDGE




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                                             EXHIBIT 1

                                     AVOIDANCE ACTIONS

         The Avoidance Actions are listed below by their case number as adversary proceedings

to the Chapter 11 Cases:1


        24-01505                           24-01521                            24-01537

        24-01506                           24-01522                            24-01538

        24-01507                           24-01523                            24-01539

        24-01508                           24-01524                            24-01540

        24-01509                           24-01525                            24-01541

        24-01510                           24-01526                            24-01542

        24-01511                           24-01527                            24-01543

        24-01512                           24-01528                            24-01544

        24-01513                           24-01529                            24-01545

        24-01514                           24-01530                            24-01546

        24-01515                           24-01531                            24-01547

        24-01516                           24-01532                            24-01548

        24-01517                           24-01533                            24-01549

        24-01518                           24-01534                            24-01550

        24-01519                           24-01535                            24-01551

        24-01520                           24-01536                            24-01552



1
 If any Defendants in the Avoidance Actions have not been served the complaint and summons as of the
date the Proposed Order is entered, these Defendants will be bound by the Proposed Order once service is
effected.
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    24-01553                      24-01576                      24-01599

    24-01554                      24-01577                      24-01600

    24-01555                      24-01578                      24-01601

    24-01556                      24-01579                      24-01602

    24-01557                      24-01580                      24-01603

    24-01558                      24-01581                      24-01604

    24-01559                      24-01582                      24-01605

    24-01560                      24-01583                      24-01606

    24-01561                      24-01584                      24-01607

    24-01562                      24-01585                      24-01608

    24-01563                      24-01586                      24-01609

    24-01564                      24-01587                      24-01610

    24-01565                      24-01588                      24-01611

    24-01566                      24-01589                      24-01612

    24-01567                      24-01590                      24-01613

    24-01568                      24-01591                      24-01614

    24-01569                      24-01592                      24-01615

    24-01570                      24-01593                      24-01616

    24-01571                      24-01594                      24-01617

    24-01572                      24-01595                      24-01618

    24-01573                      24-01596                      24-01619

    24-01574                      24-01597                      24-01620

    24-01575                      24-01598                      24-01621


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    24-01622                      24-01645                      24-01668

    24-01623                      24-01646                      24-01669

    24-01624                      24-01647                      24-01670

    24-01625                      24-01648                      24-01671

    24-01626                      24-01649                      24-01672

    24-01627                      24-01650                      24-01673

    24-01628                      24-01651                      24-01674

    24-01629                      24-01652                      24-01675

    24-01630                      24-01653                      24-01676

    24-01631                      24-01654                      24-01677

    24-01632                      24-01655                      24-01678

    24-01633                      24-01656                      24-01679

    24-01634                      24-01657                      24-01680

    24-01635                      24-01658                      24-01681

    24-01636                      24-01659                      24-01682

    24-01637                      24-01660                      24-01683

    24-01638                      24-01661                      24-01684

    24-01639                      24-01662                      24-01685

    24-01640                      24-01663                      24-01686

    24-01641                      24-01664                      24-01687

    24-01642                      24-01665                      24-01688

    24-01643                      24-01666                      24-01689

    24-01644                      24-01667                      24-01690


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    24-01691                      24-01715                      24-01738

    24-01692                      24-01716                      24-01739

    24-01693                      24-01717                      24-01740

    24-01694                      24-01718                      24-01741

    24-01695                      24-01719                      24-01742

    24-01696                      24-01720                      24-01743

    24-01697                      24-01721                      24-01744

    24-01698                      24-01722                      24-01745

    24-01699                      24-01723                      24-01746

    24-01700                      24-01724                      24-01747

    24-01701                      24-01725                      24-01748

    24-01702                      24-01726                      24-01749

    24-01703                      24-01727                      24-01750

    24-01704                      24-01728                      24-01751

    24-01705                      24-01729                      24-01752

    24-01706                      24-01730                      24-01753

    24-01707                      24-01731                      24-01754

    24-01709                      24-01732                      24-01755

    24-01710                      24-01733                      24-01756

    24-01711                      24-01734                      24-01757

    24-01712                      24-01735                      24-01758

    24-01713                      24-01736                      24-01759

    24-01714                      24-01737                      24-01760


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    24-01761                      24-01784                      24-01807

    24-01762                      24-01785                      24-01808

    24-01763                      24-01786                      24-01809

    24-01764                      24-01787                      24-01810

    24-01765                      24-01788                      24-01811

    24-01766                      24-01789                      24-01812

    24-01767                      24-01790                      24-01813

    24-01768                      24-01791                      24-01814

    24-01769                      24-01792                      24-01815

    24-01770                      24-01793                      24-01816

    24-01771                      24-01794                      24-01817

    24-01772                      24-01795                      24-01818

    24-01773                      24-01796                      24-01819

    24-01774                      24-01797                      24-01820

    24-01775                      24-01798                      24-01821

    24-01776                      24-01799                      24-01822

    24-01777                      24-01800                      24-01823

    24-01778                      24-01801                      24-01824

    24-01779                      24-01802                      24-01825

    24-01780                      24-01803                      24-01826

    24-01781                      24-01804                      24-01827

    24-01782                      24-01805                      24-01828

    24-01783                      24-01806                      24-01829


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    24-01830                      24-01853                      24-01876

    24-01831                      24-01854                      24-01877

    24-01832                      24-01855                      24-01878

    24-01833                      24-01856                      24-01879

    24-01834                      24-01857                      24-01880

    24-01835                      24-01858                      24-01881

    24-01836                      24-01859                      24-01882

    24-01837                      24-01860                      24-01883

    24-01838                      24-01861                      24-01884

    24-01839                      24-01862                      24-01885

    24-01840                      24-01863                      24-01886

    24-01841                      24-01864                      24-01887

    24-01842                      24-01865                      24-01888

    24-01843                      24-01866                      24-01889

    24-01844                      24-01867                      24-01890

    24-01845                      24-01868                      24-01891

    24-01846                      24-01869                      24-01892

    24-01847                      24-01870                      24-01893

    24-01848                      24-01871                      24-01894

    24-01849                      24-01872                      24-01895

    24-01850                      24-01873                      24-01896

    24-01851                      24-01874                      24-01897

    24-01852                      24-01875                      24-01898


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    24-01899                      24-01922                      24-01945

    24-01900                      24-01923                      24-01946

    24-01901                      24-01924                      24-01947

    24-01902                      24-01925                      24-01948

    24-01903                      24-01926                      24-01949

    24-01904                      24-01927                      24-01950

    24-01905                      24-01928                      24-01951

    24-01906                      24-01929                      24-01952

    24-01907                      24-01930                      24-01953

    24-01908                      24-01931                      24-01954

    24-01909                      24-01932                      24-01955

    24-01910                      24-01933                      24-01956

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    24-01920                      24-01943                      24-01966

    24-01921                      24-01944                      24-01967


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    24-01968                      24-01991                      24-02014

    24-01969                      24-01992                      24-02015

    24-01970                      24-01993                      24-02016

    24-01971                      24-01994                      24-02017

    24-01972                      24-01995                      24-02018

    24-01973                      24-01996                      24-02019

    24-01974                      24-01997                      24-02020

    24-01975                      24-01998                      24-02021

    24-01976                      24-01999                      24-02022

    24-01977                      24-02000                      24-02023

    24-01978                      24-02001                      24-02024

    24-01979                      24-02002                      24-02025

    24-01980                      24-02003                      24-02026

    24-01981                      24-02004                      24-02027

    24-01982                      24-02005                      24-02028

    24-01983                      24-02006                      24-02029

    24-01984                      24-02007                      24-02030

    24-01985                      24-02008                      24-02031

    24-01986                      24-02009                      24-02032

    24-01987                      24-02010                      24-02033

    24-01988                      24-02011                      24-02034

    24-01989                      24-02012                      24-02035

    24-01990                      24-02013                      24-02036


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    24-02038                      24-02061                      24-02084

    24-02039                      24-02062                      24-02085

    24-02040                      24-02063                      24-02086

    24-02041                      24-02064                      24-02087

    24-02042                      24-02065                      24-02088

    24-02043                      24-02066                      24-02089

    24-02044                      24-02067                      24-02090

    24-02045                      24-02068                      24-02091

    24-02046                      24-02069                      24-02092

    24-02047                      24-02070                      24-02093

    24-02048                      24-02071                      24-02094

    24-02049                      24-02072                      24-02095

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    24-02056                      24-02079                      24-02102

    24-02057                      24-02080                      24-02103

    24-02058                      24-02081                      24-02104

    24-02059                      24-02082                      24-02105


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    24-02107                      24-02130                      24-02153

    24-02108                      24-02131                      24-02154

    24-02109                      24-02132                      24-02155

    24-02110                      24-02133                      24-02156

    24-02111                      24-02134                      24-02157

    24-02112                      24-02135                      24-02158

    24-02113                      24-02136                      24-02159

    24-02114                      24-02137                      24-02160

    24-02115                      24-02138                      24-02161.

    24-02116                      24-02139                      24-02162

    24-02117                      24-02140                      24-02163

    24-02118                      24-02141                      24-02164

    24-02119                      24-02142                      24-02165

    24-02120                      24-02143                      24-02166

    24-02121                      24-02144                      24-02167

    24-02122                      24-02145                      24-02168

    24-02123                      24-02146                      24-02169

    24-02124                      24-02147                      24-02170

    24-02125                      24-02148                      24-02171

    24-02126                      24-02149                      24-02172

    24-02127                      24-02150                      24-02173

    24-02128                      24-02151                      24-02174


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    24-02176                      24-02199                      24-02222

    24-02177                      24-02200                      24-02223

    24-02178                      24-02201                      24-02224

    24-02179                      24-02202                      24-02225

    24-02180                      24-02203                      24-02226

    24-02181                      24-02204                      24-02227

    24-02182                      24-02205                      24-02228

    24-02183                      24-02206                      24-02229

    24-02184                      24-02207                      24-02230

    24-02185                      24-02208                      24-02231

    24-02186                      24-02209                      24-02232

    24-02187                      24-02210                      24-02233

    24-02188                      24-02211                      24-02234

    24-02189                      24-02212                      24-02235

    24-02190                      24-02213                      24-02236

    24-02191                      24-02214                      24-02237

    24-02192                      24-02215                      24-02238

    24-02193                      24-02216                      24-02239

    24-02194                      24-02217                      24-02240

    24-02195                      24-02218                      24-02241

    24-02196                      24-02219                      24-02242

    24-02197                      24-02220                      24-02243


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    24-02245                      24-02268                      24-02296

    24-02246                      24-02269                      24-02297

    24-02247                      24-02270                      24-02298

    24-02248                      24-02271                      24-02299

    24-02249                      24-02272                      24-02300

    24-02250                      24-02273                      24-02301

    24-02251                      24-02274                      24-02302

    24-02252                      24-02275                      24-02303

    24-02253                      24-02276                      24-02304

    24-02254                      24-02277                      24-02305

    24-02255                      24-02278                      24-02306

    24-02256                      24-02279                      24-02307

    24-02257                      24-02280                      24-02308

    24-02258                      24-02281                      24-02309

    24-02259                      24-02283                      24-02310

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    24-02266                      24-02293                      24-02317


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    24-02319                      24-02342                      24-02365

    24-02320                      24-02343                      24-02366

    24-02321                      24-02344                      24-02367

    24-02322                      24-02345                      24-02368

    24-02323                      24-02346                      24-02369

    24-02324                      24-02347                      24-02370

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    24-02326                      24-02349                      24-02372

    24-02327                      24-02350                      24-02373

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    24-02329                      24-02352                      24-02375

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    24-02339                      24-02362                      24-02385

    24-02340                      24-02363                      24-02386


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    24-02388                      24-02411                      24-02434

    24-02389                      24-02412                      24-02435

    24-02390                      24-02413                      24-02436

    24-02391                      24-02414                      24-02437

    24-02392                      24-02415                      24-02438

    24-02393                      24-02416                      24-02439

    24-02394                      24-02417                      24-02440

    24-02395                      24-02418                      24-02441

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    24-02399                      24-02422                      24-02445

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    24-02406                      24-02429                      24-02452

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    24-02408                      24-02431                      24-02454

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    24-02458                      24-02481                      24-02504

    24-02459                      24-02482                      24-02505

    24-02460                      24-02483                      24-02506

    24-02461                      24-02484                      24-02507

    24-02462                      24-02485                      24-02508

    24-02463                      24-02486                      24-02509

    24-02464                      24-02487                      24-02510

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    24-02466                      24-02489                      24-02512

    24-02467                      24-02490                      24-02513

    24-02468                      24-02491                      24-02514

    24-02469                      24-02492                      24-02515

    24-02470                      24-02493                      24-02516

    24-02471                      24-02494                      24-02517

    24-02472                      24-02495                      24-02518

    24-02473                      24-02496                      24-02519

    24-02474                      24-02497                      24-02520

    24-02475                      24-02498                      24-02521

    24-02476                      24-02499                      24-02522

    24-02477                      24-02500                      24-02523

    24-02478                      24-02501                      24-02524


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    24-02527                      24-02550                      24-02573

    24-02528                      24-02551                      24-02574

    24-02529                      24-02552                      24-02575

    24-02530                      24-02553                      24-02576

    24-02531                      24-02554                      24-02577

    24-02532                      24-02555                      24-02578

    24-02533                      24-02556                      24-02579

    24-02534                      24-02557                      24-02580

    24-02535                      24-02558                      24-02581

    24-02536                      24-02559                      24-02582

    24-02537                      24-02560                      24-02583

    24-02538                      24-02561                      24-02584

    24-02539                      24-02562                      24-02585

    24-02540                      24-02563                      24-02586

    24-02541                      24-02564                      24-02587

    24-02542                      24-02565                      24-02588

    24-02543                      24-02566                      24-02589

    24-02544                      24-02567                      24-02590

    24-02545                      24-02568                      24-02591

    24-02546                      24-02569                      24-02592

    24-02547                      24-02570                      24-02593


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    24-02594                      24-02617                      24-02640

    24-02595                      24-02618                      24-02641

    24-02596                      24-02619                      24-02642

    24-02597                      24-02620                      24-02643

    24-02598                      24-02621                      24-02644

    24-02599                      24-02622                      24-02645

    24-02600                      24-02623                      24-02646

    24-02601                      24-02624                      24-02647

    24-02602                      24-02625                      24-02648

    24-02603                      24-02626                      24-02649

    24-02604                      24-02627                      24-02650

    24-02605                      24-02628                      24-02651

    24-02606                      24-02629                      24-02652

    24-02607                      24-02630                      24-02653

    24-02608                      24-02631                      24-02654

    24-02609                      24-02632                      24-02655

    24-02610                      24-02633                      24-02656

    24-02611                      24-02634                      24-02657

    24-02612                      24-02635                      24-02658

    24-02613                      24-02636                      24-02659

    24-02614                      24-02637                      24-02660

    24-02615                      24-02638                      24-02661

    24-02616                      24-02639                      24-02662


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    24-02663                      24-02686                      24-02709

    24-02664                      24-02687                      24-02710

    24-02665                      24-02688                      24-02711

    24-02666                      24-02689                      24-02712

    24-02667                      24-02690                      24-02713

    24-02668                      24-02691                      24-02714

    24-02669                      24-02692                      24-02715

    24-02670                      24-02693                      24-02716

    24-02671                      24-02694                      24-02717

    24-02672                      24-02695                      24-02718

    24-02673                      24-02696                      24-02719

    24-02674                      24-02697                      24-02720

    24-02675                      24-02698                      24-02721

    24-02676                      24-02699                      24-02722

    24-02677                      24-02700                      24-02723

    24-02678                      24-02701                      24-02724

    24-02679                      24-02702                      24-02725

    24-02680                      24-02703                      24-02726

    24-02681                      24-02704                      24-02727

    24-02682                      24-02705                      24-02728

    24-02683                      24-02706                      24-02729

    24-02684                      24-02707                      24-02730

    24-02685                      24-02708                      24-02731


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    24-02732                      24-02755                      24-02778

    24-02733                      24-02756                      24-02779

    24-02734                      24-02757                      24-02780

    24-02735                      24-02758                      24-02781

    24-02736                      24-02759                      24-02782

    24-02737                      24-02760                      24-02783

    24-02738                      24-02761                      24-02784

    24-02739                      24-02762                      24-02785

    24-02740                      24-02763                      24-02786

    24-02741                      24-02764                      24-02787

    24-02742                      24-02765                      24-02788

    24-02743                      24-02766                      24-02789

    24-02744                      24-02767                      24-02790

    24-02745                      24-02768                      24-02791

    24-02746                      24-02769                      24-02792

    24-02747                      24-02770                      24-02793

    24-02748                      24-02771                      24-02794

    24-02749                      24-02772                      24-02795

    24-02750                      24-02773                      24-02796

    24-02751                      24-02774                      24-02797

    24-02752                      24-02775                      24-02798

    24-02753                      24-02776                      24-02799

    24-02754                      24-02777                      24-02800


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    24-02801                      24-02825                      24-02848

    24-02802                      24-02826                      24-02849

    24-02803                      24-02827                      24-02850

    24-02804                      24-02828                      24-02851

    24-02805                      24-02829                      24-02852

    24-02806                      24-02830                      24-02853

    24-02807                      24-02831                      24-02854

    24-02808                      24-02832                      24-02855

    24-02809                      24-02833                      24-02856

    24-02810                      24-02834                      24-02857

    24-02811                      24-02835                      24-02858

    24-02812                      24-02836                      24-02859

    24-02813                      24-02837                      24-02860

    24-02814                      24-02838                      24-02861

    24-02815                      24-02839                      24-02862

    24-02816                      24-02840                      24-02863

    24-02817                      24-02841                      24-02864

    24-02818                      24-02842                      24-02865

    24-02819                      24-02843                      24-02866

    24-02820                      24-02844                      24-02867

    24-02821                      24-02845                      24-02868

    24-02823                      24-02846                      24-02869

    24-02824                      24-02847                      24-02870


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    24-02871                      24-02894                      24-02917

    24-02872                      24-02895                      24-02918

    24-02873                      24-02896                      24-02919

    24-02874                      24-02897                      24-02920

    24-02875                      24-02898                      24-02921

    24-02876                      24-02899                      24-02922

    24-02877                      24-02900                      24-02923

    24-02878                      24-02901                      24-02924

    24-02879                      24-02902                      24-02925

    24-02880                      24-02903                      24-02926

    24-02881                      24-02904                      24-02927

    24-02882                      24-02905                      24-02928

    24-02883                      24-02906                      24-02929

    24-02884                      24-02907                      24-02930

    24-02885                      24-02908                      24-02931

    24-02886                      24-02909                      24-02932

    24-02887                      24-02910                      24-02933

    24-02888                      24-02911                      24-02934

    24-02889                      24-02912                      24-02935

    24-02890                      24-02913                      24-02936

    24-02891                      24-02914                      24-02937

    24-02892                      24-02915                      24-02938

    24-02893                      24-02916                      24-02939


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    24-02940                      24-02963                      24-02986

    24-02941                      24-02964                      24-02987

    24-02942                      24-02965                      24-02988

    24-02943                      24-02966                      24-02989

    24-02944                      24-02967                      24-02990

    24-02945                      24-02968                      24-02991

    24-02946                      24-02969                      24-02992

    24-02947                      24-02970                      24-02993

    24-02948                      24-02971                      24-02994

    24-02949                      24-02972                      24-02995

    24-02950                      24-02973                      24-02996

    24-02951                      24-02974                      24-02997

    24-02952                      24-02975                      24-02998

    24-02953                      24-02976                      24-02999

    24-02954                      24-02977                      24-03000

    24-02955                      24-02978                      24-03001

    24-02956                      24-02979                      24-03002

    24-02957                      24-02980                      24-03003

    24-02958                      24-02981                      24-03004

    24-02959                      24-02982                      24-03005

    24-02960                      24-02983                      24-03006

    24-02961                      24-02984                      24-03007

    24-02962                      24-02985                      24-03008


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    24-03009                      24-03032                      24-03055

    24-03010                      24-03033                      24-03056

    24-03011                      24-03034                      24-03057

    24-03012                      24-03035                      24-03058

    24-03013                      24-03036                      24-03059

    24-03014                      24-03037                      24-03060

    24-03015                      24-03038                      24-03061

    24-03016                      24-03039                      24-03062

    24-03017                      24-03040                      24-03063

    24-03018                      24-03041                      24-03064

    24-03019                      24-03042                      24-03065

    24-03020                      24-03043                      24-03066

    24-03021                      24-03044                      24-03067

    24-03022                      24-03045                      24-03068

    24-03023                      24-03046                      24-03069

    24-03024                      24-03047                      24-03070

    24-03025                      24-03048                      24-03071

    24-03026                      24-03049                      24-03072

    24-03027                      24-03050                      24-03073

    24-03028                      24-03051                      24-03074

    24-03029                      24-03052                      24-03075

    24-03030                      24-03053                      24-03076

    24-03031                      24-03054                      24-03077


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    24-03078                      24-03101                      24-03124

    24-03079                      24-03102                      24-03125

    24-03080                      24-03103                      24-03126

    24-03081                      24-03104                      24-03127

    24-03082                      24-03105                      24-03128

    24-03083                      24-03106                      24-03129

    24-03084                      24-03107                      24-03130

    24-03085                      24-03108                      24-03131

    24-03086                      24-03109                      24-03132

    24-03087                      24-03110                      24-03133

    24-03088                      24-03111                      24-03134

    24-03089                      24-03112                      24-03135

    24-03090                      24-03113                      24-03136

    24-03091                      24-03114                      24-03137

    24-03092                      24-03115                      24-03138

    24-03093                      24-03116                      24-03139

    24-03094                      24-03117                      24-03140

    24-03095                      24-03118                      24-03141

    24-03096                      24-03119                      24-03142

    24-03097                      24-03120                      24-03143

    24-03098                      24-03121                      24-03144

    24-03099                      24-03122                      24-03145

    24-03100                      24-03123                      24-03146


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    24-03147                      24-03170                      24-03193

    24-03148                      24-03171                      24-03194

    24-03149                      24-03172                      24-03195

    24-03150                      24-03173                      24-03196

    24-03151                      24-03174                      24-03197

    24-03152                      24-03175                      24-03198

    24-03153                      24-03176                      24-03199

    24-03154                      24-03177                      24-03200

    24-03155                      24-03178                      24-03201

    24-03156                      24-03179                      24-03202

    24-03157                      24-03180                      24-03203

    24-03158                      24-03181                      24-03204

    24-03159                      24-03182                      24-03205

    24-03160                      24-03183                      24-03206

    24-03161                      24-03184                      24-03207

    24-03162                      24-03185                      24-03208

    24-03163                      24-03186                      24-03209

    24-03164                      24-03187                      24-03210

    24-03165                      24-03188                      24-03211

    24-03166                      24-03189                      24-03212

    24-03167                      24-03190                      24-03213

    24-03168                      24-03191                      24-03214

    24-03169                      24-03192                      24-03215


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    24-03216                      24-03239                      24-03262

    24-03217                      24-03240                      24-03263

    24-03218                      24-03241                      24-03264

    24-03219                      24-03242                      24-03265

    24-03220                      24-03243                      24-03266

    24-03221                      24-03244                      24-03267

    24-03222                      24-03245                      24-03268

    24-03223                      24-03246                      24-03269

    24-03224                      24-03247                      24-03270

    24-03225                      24-03248                      24-03271

    24-03226                      24-03249                      24-03272

    24-03227                      24-03250                      24-03273

    24-03228                      24-03251                      24-03274

    24-03229                      24-03252                      24-03275

    24-03230                      24-03253                      24-03276

    24-03231                      24-03254                      24-03277

    24-03232                      24-03255                      24-03278

    24-03233                      24-03256                      24-03279

    24-03234                      24-03257                      24-03280

    24-03235                      24-03258                      24-03281

    24-03236                      24-03259                      24-03282

    24-03237                      24-03260                      24-03283

    24-03238                      24-03261                      24-03284


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    24-03285                      24-03308                      24-03331

    24-03286                      24-03309                      24-03332

    24-03287                      24-03310                      24-03333

    24-03288                      24-03311                      24-03334

    24-03289                      24-03312                      24-03335

    24-03290                      24-03313                      24-03336

    24-03291                      24-03314                      24-03337

    24-03292                      24-03315                      24-03338

    24-03293                      24-03316                      24-03339

    24-03294                      24-03317                      24-03340

    24-03295                      24-03318                      24-03341

    24-03296                      24-03319                      24-03342

    24-03297                      24-03320                      24-03343

    24-03298                      24-03321                      24-03344

    24-03299                      24-03322                      24-03345

    24-03300                      24-03323                      24-03346

    24-03301                      24-03324                      24-03347

    24-03302                      24-03325                      24-03348

    24-03303                      24-03326                      24-03349

    24-03304                      24-03327                      24-03350

    24-03305                      24-03328                      24-03351

    24-03306                      24-03329                      24-03352

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                                           EXHIBIT 2

                           AVOIDANCE ACTION PROCEDURES

Phase One Issues, Schedule, and Procedures

         Phase one issues shall include, and shall be limited to:

                    •   Whether the presumption against extraterritoriality is applicable to the
                        Avoidance Actions, and if so, whether 11 U.S.C. § 547 applies
                        extraterritorially.

                    •   Whether the Court has specific personal jurisdiction over Defendants in
                        connection with the Avoidance Actions.

                    •   Whether, under 11 U.S.C. § 550, the Litigation Administrator is entitled
                        to recover the assets transferred off the Celsius platform or their prevailing
                        value.

                    •   Whether the definition of “WPE” under the Plan overrides the statutory
                        definition of new value under 11 U.S.C. § 547(c)(4) or the Litigation
                        Administrator’s rights under 11 U.S.C. § 550.

             Moratorium to Allow for Voluntary Mediation – To allow time for parties to engage
              in voluntary mediation, there will be a moratorium following entry of the Proposed
              Order, which will conclude on the date that is 120 days after the entry of the
              Proposed Order (or, if that date falls on a weekend or holiday, the following business
              day).

             Briefing Schedule – The phase one briefing will occur in two stages:

                    •   Opening briefs will be due on the date that is 56 days following the
                        conclusion of the moratorium.

                    •   Response briefs will be due on the date the is 56 days following the filing
                        of opening briefs.

                    •   The Court will set a hearing on the phase one issues to occur after the close
                        of briefing.

             Pages Limits – The following page limits and related rules shall govern the phase
              one briefing:

                    •   Defendants shall be entitled to submit three opening briefs of 50 pages
                        each. The Litigation Administrator shall be entitled to submit one opening
                        brief of 60 pages.




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                     •   Defendants shall be entitled to submit three response briefs of 50 pages
                         each. The Litigation Administrator shall be entitled to submit one
                         response brief of 75 pages.

                     •   The following groups of Defendants may submit briefs: (i) the
                         approximately 600 Defendants represented by Troutman Pepper LLP (the
                         “Troutman Group”) and Lowenstein Sandler LLP (“Lowenstein
                         Group”); (ii) Defendants represented by Wilmer Cutler Pickering Hale
                         and Dorr LLP (the “DOF Group (WilmerHale)”) and (iii) Defendants
                         represented by Bressler Amery & Ross, P.C. (the “Bressler Group”).1All
                         other Defendants may request permission to file briefs under the same
                         limits, which request shall be determined by the Court.

                     •   Stay of Litigation – During phase one, all deadlines in connection with
                         each Defendant’s individual Avoidance Action shall be stayed.

              Voluntary Mediation – During phase one, parties may engage in voluntary
               mediation at any time. To the extent that Foreign Defendants who have not formally
               been served with service of process elect to participate in voluntary mediation, such
               participation shall not be deemed as consent to jurisdiction, and those Defendants
               shall reserve all rights as to extraterritoriality, personal jurisdiction, and related
               defenses. The voluntary mediation will be subject to the mediation procedures
               outlined in the Proposed Order unless the parties mutually assent to other
               procedures.

              No Discovery – No discovery will be allowed in connection with the phase one
               issues. To the extent a party believes discovery is required to decide a phase one
               issue, the party can make that argument in its briefing.

Phase Two Issues, Schedule, and Procedures

              Phase two issues shall include, and shall be limited to:

                     •   Whether the Litigation Administrator’s claims are barred by the ordinary
                         course of business defense under 11 U.S.C. § 547(c)(2)(B).

                     •   Whether the Litigation Administrator’s claims are barred by the safe
                         harbor defense under 11 U.S.C. § 546(e).

                     •   Whether any Defendant can rebut the presumption of insolvency during
                         the preference period.




1
  The Litigation Administrator has spoken with the Troutman Group, Lowenstein Group, DOF Group
(WilmerHale), and Bressler Group and understands that these groups reserve the right to incorporate and
adopt each other’s arguments to avoid repetitive and duplicative briefing.


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                   •     Any “phase one” issue that the Court determines requires evidence to
                         decide.

            Deadline to Respond to Complaints – On the date that is 30 days after the Court
             rules on the phase one issues (or, if that date is a weekend or holiday, the next
             business day), and solely to the extent that the Avoidance Actions have not been
             fully adjudicated by the Court’s phase one rulings, all Defendants who have been
             properly served must, to the extent they have not already done so, answer or
             otherwise respond to the complaints filed in their individual Avoidance Actions. For
             the avoidance of doubt, for any Defendant who has been properly served and has
             not timely answered or otherwise responded to the complaint filed against them, the
             Litigation Administrator may take all appropriate steps to obtain a default judgment
             in those Avoidance Actions, including seeking an entry of a default judgment and
             pursuing related litigation. Other than responses to the complaints and related
             litigation, if a Defendant fails to timely respond to the complaint as described herein,
             all dates and deadlines in connection with each Defendant’s Avoidance Action
             (including briefing deadlines, discovery deadlines and court conferences) shall be
             stayed.

            Litigation Schedule – Litigation regarding the phase two issues shall follow the
             below schedule:

                       Event                                          Deadline

Deadline to serve all requests for written 35 days after the deadline to respond to the
discovery regarding phase two issues       complaints

Deadline to complete all fact discovery, 120 days after the deadline to serve requests
including depositions                    for written discovery (subject to two, 28-day
                                         extensions upon written agreement by the
                                         parties and without further order of the Court)

Deadline for defendants to file opening briefs, 70 days after the completion of fact discovery
fact declarations and expert reports

Deadline for the Litigation Administrator to 28 days after defendants file their opening
complete discovery of defendants’ experts    briefs

Deadline for Litigation Administrator to file 70 days after the deadline for the Litigation
response brief, rebuttal fact declarations, and Administrator to complete expert discovery
rebuttal expert reports

Deadline for defendants to complete discovery 28 after the Litigation Administrator files its
of the Litigation Administrator’s experts     response brief




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                            Event                                          Deadline

    Deadline for defendants to file reply briefs          42 days after the deadline for defendants to
                                                          complete expert discovery

                 Page Limits – The following page limits and related rules shall govern the phase two
                  briefing:

                        •     Defendants shall be entitled to submit three opening briefs of 50 pages
                              each.

                        •     The Litigation Administrator shall be entitled to submit one response brief
                              of 75 pages.

                        •     Defendants shall be entitled to submit three reply briefs of 40 pages each.

                        •     The following groups of Defendants may submit briefs: (i) the
                              approximately 600 Defendants in the Troutman Group and Lowenstein
                              Group; (ii) the DOF Group (WilmerHale); and (iii) the Bressler Group.
                              All other Defendants may request permission to file briefs under the same
                              limits, which request shall be determined by the Court.

                 Evidentiary Hearing – Following the close of briefing, the Court will schedule an
                  evidentiary hearing on the phase two issues.

Mandatory Mediation Procedures and Requirements

             Mandatory Mediation Start Date – On the date that is 35 days following the deadline
              for responses to the complaints, mandatory mediation shall begin pursuant to the
              procedures outlined below (the “Mandatory Mediation Start Date”).

             Requirement to Participate in Mediation – To the extent a Defendant has not already
              participated in mediation and the Avoidance Action against such Defendant has not
              been resolved, then that Defendant must participate in mandatory mediation.
              Following the Mandatory Mediation Start Date, the Defendant and the Litigation
              Administrator shall jointly select a mediator (the “Mediator”) from the list of
              mediators (the “Mediator List”), a copy of which is attached as Exhibit 3 to the
              Proposed Order.2 Following the selection of a Mediator, the Litigation Administrator
              shall file on the respective adversary proceeding docket or applicable consolidated
              docket, if any, a notice of Mediator selection (the “Notice of Mediator Selection”).

2
  Notwithstanding the foregoing, with respect to any group mediation of cases with aggregate claim amounts
in excess of $25,000,000 (a “Large Group Mediation”), the Defendants and Plaintiff shall confer in good
faith to jointly select a mutually-agreeable Mediator and shall not be limited to those mediators on
Exhibit 3. If the parties to a Large Group Mediation are unable to agree on a Mediator within a reasonable
time, the Court shall appoint one for them.


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               Except as otherwise set forth herein, if the parties are unable to agree on a Mediator
               within 30 days from the Mandatory Mediation Start Date, the Litigation Administrator
               shall request that the Court appoint a Mediator from the Mediator List.3

              Mediator Fees - The Mediator’s fees and reasonable expenses (the “Mediation Fee”)
               shall be shared equally by the parties on a fixed-fee schedule as set forth below.4 The
               parties shall pay one quarter of the Mediation Fee at least seven (7) calendar days prior
               to the commencement of mediation (the “Initial Mediation Fee”). The remaining fee
               will be due and paid by the parties on or before the date of mediation, should the
               mediation go forward. If the parties settle prior to the mediation, the Mediator must be
               informed of the settlement prior to seven calendar days before the scheduled mediation
               or the Initial Mediation Fee is nonrefundable. If a party fails to attend the mediation,
               or fails to cancel or adjourn the mediation at least 24 hours in advance of the start of
               the mediation, that party will bear sole responsibility for the remaining Mediation Fee.
               The Mediation Fee shall be as follows:

                         •   cases with a claim amount (as reflected in the complaint) greater than
                             $100,000 and less than $250,000: $5,000 per case;

                         •   cases with a claim amount (as reflected in the complaint) equal to or
                             greater than $250,000 and less than $500,000: $6,500 per case;

                         •   cases with a claim amount (as reflected in the complaint) equal to or
                             greater than $500,000 and less than $1,000,000: $8,000 per case; and

                         •   cases with a claim amount (as reflected in the complaint) equal to or
                             greater than $1,000,000: to be determined by the Plaintiff, Defendant, and
                             Mediator on a case-by-case basis.5

                  Location for Mediations – Mediations shall take place at a location agreed to by the
                   parties and the Mediator, including holding mediations via video conference. All
                   cases with claim amounts under $500,000 shall be conducted over video conference,
                   and cases with claim amounts over $500,000 may be conducted over video
                   conference or in-person, as the parties and the Mediator agree. In-person mediations
                   shall be held at the law office of Plaintiff’s counsel, Defendant’s counsel, the
                   Mediator’s office, or at another location agreed upon by the Mediator, Plaintiff, and
                   the Defendant.


3
  Plaintiff reserves the right to add or remove mediators from the Mediator List any time after the original
Mediator List is filed with the Court, including after any order is entered approving the Motion, provided
that the additional mediators will be selected from the register of mediators maintained by the Court.
4
    Plaintiff, in his sole discretion, may agree to a different division of the mediator’s fees and expenses.
5
 To the extent any Defendants choose to mediate in a group, the above mediation fees will be determined
based on the aggregate claim amounts reflected in the complaints filed against the members of the group.


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              Mediator’s Travel Expenses – If the parties mutually request that a Mediator travel
               from the Mediator’s home state to another location for mediation, and the Mediator
               agrees to the location, the parties shall split the reasonable costs of the Mediator’s
               travel and accommodations, and the Mediation Fee shall increase as follows: $500
               per party, per case in the event that the Mediator travels within the continental
               United States or Canada, and $1000 per party, per case in the event the Mediator
               travels outside the continental United States or Canada.6

              Commencement of Mediation – Promptly after the filing of the Notice of Mediator
               Selection, Plaintiff’s and Defendant’s counsel (or the Defendant, if appearing pro
               se) shall jointly contact the selected Mediator to discuss the mediation. The
               mediation will be scheduled within sixty (60) days of the filing of the Notice of
               Mediator Selection.

              General Order M-390 – Except as set forth herein, the mediation shall be conducted
               in accordance with General Order M-390, which is available on the Court’s website
               (http://www.nysb.uscourts.gov/).

              Position Statements – The parties shall exchange, and provide the Mediator with a
               copy of, their position statements (“Position Statements”), which may not exceed
               ten (10) pages double-spaced in 12 point type (exclusive of exhibits and schedules),7
               at least ten (10) days prior to the scheduled mediation. The Mediator may also
               require the parties to provide to the Mediator any relevant papers and exhibits as
               well as a settlement proposal. The Mediator may also require the parties to exchange
               documents. The Mediator may permit parties to provide the Mediator with
               confidential briefing that is not exchanged between the parties.

              Mediator’s Authority – The Mediator will preside over the mediation with full
               authority to determine the nature and order of the parties’ presentations and with the
               full authority to implement any additional procedures which are reasonable and
               practical under the circumstances.

              Time to Mediate – The length of time necessary to effectively complete the
               mediation will be within the Mediator’s discretion. The Mediator may also adjourn
               a mediation that has been commenced if the Mediator determines that an
               adjournment is in the best interests of the parties.

              Good Faith Requirement – The parties shall participate in the mediation in good
               faith. A lack of participation in good faith includes, but is not limited to, the failure
               to timely pay the Mediator in accordance with these Proposed Procedures. The

6
 For the avoidance of doubt, the fees and costs set forth in this paragraph shall remain the same regardless
of whether the Mediator is participating in a group mediation.
7
 For Large Group Mediations, the parties and the Mediator shall agree on a reasonable page limit for the
parties’ position statements.


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          mediation(s) shall be attended by a representative of the Defendant with full
          settlement authority (and if a Defendant is represented by counsel, their counsel) as
          well as counsel for Plaintiff (who must have settlement authority from Plaintiff).

         Mediator Recusals – No Mediator shall mediate any Avoidance Action in which the
          Mediator or the Mediator’s law firm currently represents a party in that Avoidance
          Action. To the extent the Mediator’s law firm represents a party with respect to any
          Avoidance Action or is otherwise currently adverse to Celsius, the party to the
          Avoidance Action that the Mediator is mediating, or the Litigation Administrator,
          the Mediator shall inform the parties, in writing, of the representation and certify
          that he or she has been walled off from the representation. Notwithstanding the
          foregoing, no Defendant shall be required to mediate with a Mediator whose law
          firm is currently adverse to such Defendant in any matter.

         Mediation Privilege Applies – All proceedings and writings incident to the
          mediation will be considered privileged and confidential and subject to all the
          protections of Federal Rule of Evidence 408 and shall not be reported or admitted
          in evidence for any reason whatsoever. Nothing stated or exchanged during
          mediation shall operate as an admission of liability, wrongdoing, or responsibility.

         Deadline to Conclude Mediation – The mediation shall be conducted so as to be
          completed within one hundred and eighty (180) days after the date the Notice of
          Mediator Selection is filed, which deadline may be extended by the mutual consent
          of Plaintiff, the Defendant, and the Mediator.

         Non-Participation – If a party (a) fails to submit the required Position Statement or
          other submissions as provided in these Proposed Procedures or as may be agreed to
          by the Mediator or ordered by the Court, or (b) fails to attend the mediation, then
          the non-defaulting party may file a motion with the Court seeking sanctions as may
          be appropriate under the circumstances, including a motion for default judgment.

         Mediator’s Report – Within ten (10) days after the conclusion of each mediation,
          the Mediator shall file a Mediator’s Report in the Avoidance Action, which shall be
          limited to stating only (i) whether the Avoidance Action settled or did not settle;
          (ii) the date or dates the mediation took place; and (iii) the names of the parties
          and/or counsel who attended.

         Discovery – Although discovery shall be stayed in each Defendant’s individual
          Avoidance Action, such stay of discovery shall in no way preclude the parties from
          informally exchanging documents and other information on a consensual basis in an
          attempt to resolve an Avoidance Action in advance of, or during, any mediation.

         Settlement of Avoidance Actions - Consistent with the Plan, Plaintiff is authorized
          to compromise or settle any of the Avoidance Actions without further court
          approval. See Plan Art. IV(S).


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Avoidance Actions Omnibus Hearings

         The Court will schedule regular omnibus hearing dates in the Chapter 11 Cases, on
          which dates any post-mediation Pretrial Scheduling Conference will take place. Any
          pretrial motions filed by the parties in the Avoidance Actions must be set for hearing
          on one of the omnibus hearing dates unless otherwise ordered by the Court.

Motions Affecting all Avoidance Actions or Consolidated Avoidance Actions

         Any motions filed by Plaintiff that affect all of the Avoidance Actions shall be filed in
          the consolidated docket styled In re Celsius Customer Preference Actions with the Adv.
          Proc. No. 24-04024 (MG) (Bankr. S.D.N.Y.) and not in each separately docketed
          Avoidance Action; provided, however, that each Defendant shall receive notice of the
          filing of the same.

         Any motions filed by Defendants whose Avoidance Actions have been consolidated
          shall be filed on the consolidated docket and not in each separately docketed Avoidance
          Action.




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                                    EXHIBIT 3

                              PROPOSED MEDIATORS


 1. Derek Abbott

 2. Chris Battaglia

 3. Conor Bifferato

 4. Timothy Gallagher

 5. Henry Jaffe

 6. Lori Lapin Jones

 7. Allen Kadish

 8. Deborah Reperowitz

 9. Brad Sandler

 10. Ed Schnitzer

 11. Judge Christopher S. Sontchi

 12. Heidi Sorvino

 13. Sean Southard

 14. Stephanie Wickouski

 15. Judge Ann Claire Williams
